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MINUTE ENTRY
AFRICK, J.
JULY 18, 2022

JS10 - 09:10

                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA



 UNITED STATES OF AMERICA                                    CRIMINAL ACTION
 VERSUS                                                      NUMBER: 20-55
 JASON R. WILLIAMS                                           SECTION: I
 NICOLE BURDETT


 UNITED STATES OF AMERICA                                    CRIMINAL ACTION
 VERSUS                                                      NUMBER: 20-139
 NICOLE BURDETT                                              SECTION: I

                                       JURY TRIAL

COURTROOM DEPUTY: Dena White and Bridget Gregory
COURT REPORTER: Toni Tusa

APPEARANCES:
Alexander Van Hook, Jessica Cassidy and Kelly Uebinger, Counsel for Government
William P. Gibbens and Lisa Wayne, Counsel for Defendant Jason Williams
Michael Magner and Avery Pardee, Counsel for Defendant Nicole Burdett
Jason Williams and Nicole Burdett, Defendants

Case called at 8:15 a.m.
All present and ready.
Defendants, Jason Williams and Nicole Burdett, counsel for the defendants, and the Government
were questioned regarding any plea offer tendered to the defendant.
Defendants waive presence at bench conferences, except for those they would like to attend.
Jury panel entered the courtroom at 8:40 a.m.
The jury panel sworn on voir dire and questioned.
Court recessed at 6:25 p.m., to reconvene on Tuesday, July 19, 2022, at 8:30 a.m.
